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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3138
           v.                        )
                                     )
PHILLIP EMANUEL CAMACHO,             )
                                     )                   ORDER
                Defendants.          )
                                     )



     IT IS ORDERED:

     Defendant’s unopposed motion to continue, filing 24, is
granted and the deadline for filing pretrial motions is extended
to February 6, 2006.

     DATED this 23rd day of January, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
